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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 5      UNITED STATES OF AMERICA,
 6                                                                   Case No. CR06-242JLR
                                 Plaintiff,
 7                                                                   INITIAL ORDER RE:
                          v.                                         ALLEGATIONS OF
 8                                                                   VIOLATION OF
        LUCINDA M WYNN,                                              CONDITIONS OF BOND
 9                               Defendants.
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12          THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of release.
13              The plaintiff appears through Assistant United States Attorney, Barb Sievers.
14              The defendant appears personally and represented by counsel, Russell Leonard.
15              The U.S. Pretrial Office has filed a petition alleging violations of the terms and conditions of
16              supervision, and the defendant has been advised of the allegation(s).

17              The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
                petition to be held at the time and date below set forth before Judge J Kelley Arnold:
18                             Date of hearing:      July 21, 2006
19                             Time of hearing:      3:00 p.m.
20              IT IS ORDERED that the defendant:
21              ( ) Be released on an appearance bond, subject to the terms and conditions set forth thereon.
22              (X) Be detained for failing to show that he/she will not flee or pose a danger to any other person
23                  or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
                    by the court for further proceedings.
24           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
25   defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
     Office.
26                                                          July 20, 2006.
27
28                                                          s/ J. Kelley Arnold
                                                            J. Kelley Arnold, U.S. Magistrate Judge

     ORDER
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